






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00555-CR






Diane Wilson, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF CALDWELL COUNTY, 421ST JUDICIAL DISTRICT

NO. 2008-231, HONORABLE TODD A. BLOMERTH, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Pursuant to a plea agreement, Diane Wilson pleaded guilty to a charge of burglary of
a building.  The court deferred adjudication, and Wilson was placed on community supervision for
ten years.  She filed a notice of appeal in which she acknowledged that the punishment assessed does
not exceed the punishment recommended by the prosecutor and to which she and her attorney
agreed.  Wilson nevertheless asserts her intention to appeal pretrial rulings including the denial of
her motions to dismiss, to suppress a written statement, and to set aside her indictment based on
the&nbsp;lack of a speedy trial.  The trial court certified that this "is a plea bargain case, and the defendant
has NO right of appeal."  See Tex. R. App. P. 25.2(d).

		Wilson and her attorney both signed the "Admonishments, Plea Agreement, Waiver
of Rights, and Stipulation of Evidence Regarding Plea of Defendant."  The admonishments section
of that agreement provides that, if the punishment assessed does not exceed the punishment
recommended by the prosecutor and agreed to by Wilson and her attorney, Wilson must obtain
the&nbsp;trial court's permission to appeal any matter except for those raised by pretrial, written motion. 
The waiver of rights section, however, provides that "Defendant waives the right to file a Motion
for New&nbsp;Trial, waives the right to pursue an appeal of the conviction and sentence herein, and
waives&nbsp;all rights contained in the written and oral admonishments given by the Court."  Wilson and
her attorney both signed the agreement immediately below the waiver of rights section.

		The rules of appellate procedure provide that "[t]he appeal must be dismissed if a
certification that shows the defendant has the right of appeal has not been made part of the record
under these rules."  Tex. R. App. P. 25.2(d).  No such certification has been made part of the record. 
We must dismiss this appeal.

		Dismissed.



						                                                                                    

						G. Alan Waldrop, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Dismissed

Filed:   October 23, 2009

Do Not Publish


